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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

ALEXANDRIA DIVISION
JANE DOE, )
)
Plaintiff, )
)
v. ) Case No.: 1:21cev1150(AJT/JFA)
)
FAIRFAX POLICE OFFICER #1, et al., )
)
Defendants. )
)

VERDICT FORM

A. Plaintiff Must Prove She is a Victim Under the TVPRA
Do you find that the plaintiff has: established by a preponderance of the evidence that she

was a human trafficking victim under the TVPRA?
YES x NO

If you have answered NO to the above question, there is nothing further for you to consider,

and your foreperson should sign and date this verdict form and return it to the court.
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B. Claim of Obstruction or Interference with enforcement of the TVPRA
Do you find, as to the defendants listed below, that plaintiff has established by a
preponderance of the evidence that the defendant obstructed or interfered with enforcement of the
TVPRA?
As to Michael Barbazette
____—*YES - NO

As to Jason Mardocco

____ YES “NO
As to James Baumstark
____YES NO
As to Edwin Roessler
YES NO
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C. Claim of Conspiracy to Obstruct or Interfere with enforcement of the TVPRA
Do you find, as to the defendants listed below, that plaintiff has established by a
preponderance of the evidence that the defendant conspired with Hazel Sanchez to obstruct or
interfere with enforcement of the TVPRA?
As to Michael Barbazette
YES NO

As to Jason Mardocco

YES . NO
As to James Baumstark
YES. oo NO :

As to Edwin Roessler

YES oS “NO

If you have answered NO to each of the above questions, there is nothing further for you
to consider, and your foreperson should sign and date this verdict form and return it to the court.

If you have answered YES as to any of the above questions, then you should proceed to
answer the questions below, but only as to the defendant(s) for whom you provided a YES answer

above.
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D. _ Statute of Limitations
On the issue of the statute of limitations, each defendant must establish by a preponderance
of the evidence that he did not engage in any interference or obstruction to enforce the TVPRA or
conspiracy to interfere or obstruct enforcement of the TVPRA during the period December 16,
2011 through the date on which you find that plaintiff was no longer associated with Hazel

Sanchez. Do you find, as to the defendants listed below, that he has met this burden of proof:

As to Michael Barbazette
___ YES ____.NO
As to Jason Mardocco
YES NO
As to James Baumstark
YES mo NO

As to Edwin Roessler

YES - NO .
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E. Compensatory Damages

You should only consider damages as to any defendant for whom you answered YES to
any of the questions in sections B or C above and NO to the question in section D. As to such
defendants, what damages, if any, has Plaintiff proved by a preponderance of the evidence that she
suffered as a result of the defendant’s conduct?

As to Michael Barbazette  $

As to Jason Mardocco $

As to James Baumstark

$
As to Edwin Roessler $

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F. Punitive Damages

If you have awarded compensatory damages against any Defendant, you may but are not
required to award punitive damages against that Defendant. As to any such Defendant, what if any
amount of punitive damages do you award?

As to Michael Barbazette $

As to Jason Mardocco $
As to James Baumstark $
As to Edwin Roessler $

THIS IS OUR UNANIMOUS VERDICT.

